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                                                                                                                 ID #:3215



                                                                    1                                    CERTIFICATE OF COMPLIANCE
                                                                    2             The undersigned, counsel of record for Defendant Alexander Marine Co.,
                                                                    3 Ltd., certifies that this brief contains 1,586 word, which complies with the word
                                                                    4 limit of L.R. 11-6.1.
                                                                    5                                                  PACHULSKI STANG ZIEHL & JONES LLP
                                                                    6
                                                                                                                       /s/ Jeffrey P. Nolan
                                                                    7                                                  Jeffrey P. Nolan
                                                                                                                       Attorney for Defendant Alexander Marine Co.,
                                                                    8                                                  Ltd.
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                                        LOS ANGELES, CALIFORNIA
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                                                                                                                 ID #:3216



                                                                    1                                       CERTIFICATE OF SERVICE
                                                                    2             I hereby certify that on this 11th day of March, 2025, I electronically filed the
                                                                    3 foregoing MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                                                                    4 OF MOTION TO VACATE RENEWAL OF JUDGMENT BY CLERK
                                                                    5 ENTERED ON FEBRUARY 3, 2025 with the Clerk of the Court using the
                                                                    6 CM/ECF system. Participants in the case who are registered CM/ECF users will be
                                                                    7 served by the CM/ECF system.
                                                                    8             I have also served by U.S. Mail and email plaintiff’s counsel on the pleading.
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                                                                                                                       /s/ Jeffrey P. Nolan
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